]N THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO
(Judge Walker D. Miller)
(Magistrate Judge Kathleen l\/[. Tafoya)
Civil Action No. 07-cv-00913 WDM-KMT
J.D. H]LLBERRY,
Plaintiff,
V.

THE WOODEN TEDDY BEAR, INC., et al.

Defendants.

 

DEFENDANT SCROLLER’S MOTION FOR RECONSIDERATION OF ORDER
GRANTING PLAINTIFF’S MOTION TO JOIN ADDITIONAL PARTIES

 

Defendant The Winfleld Collection, Ltd., d/b/a Scroller Ltd.(“Scroller”), through its
attorneys, Harris, Karstaedt, Jamison & Powers, P.C., submits its Motion for Reconsideration of
Order Granting Plaintiff's Motion for Joinder of Additional Parties (“Motion for
Reconsideration”) pursuant to Fed.R.CiV.P. 60(b)(2007). In support of its Motion for
Reconsideration, Scroller states as follows:

I. CERTIFICATION ON DUTY T0 C()NFER

Pursuant to D.C.C()LO.LCiVR 7.l.A, the undersigned certifies that Plaintiff’s counsel

Was contacted regarding the relief requested by this Motion for Reconsideration and he is

opposed to the relief requested herein.

 

II. BACKGROUND

On l\/lay 30, 2007, Plaintiff J.D. Hillberry commenced this action alleging damages
arising out of asserted copyright infringements Hillberry claims Defendant Zaffino violated his
copyrights when he designed scroll saw patterns styled after Hillberry’s charcoal pencil
renderings entitled “Tight Gate” and “Big League Dreams.” The balance of Hillberry’s claims
against the remainder of the Defendants, including Scroller, is based upon a theory of copyright
infringement as distributors of Zaffino’s scroll saw patterns.

On July 20, 2007, Scroller disclosed, pursuant to Fed.R.Civ.P. 26(a)(l)(A)(i), the identity
of its corporate representatives, Michael Easler responsible for daily operations, and Ms. Becky
Wakeinan who had information regarding communications with artists and information on the
copyright of artists’ work by Scroller. _S__e_e_ EX. A, Def. Scroller’s lnitial Disclosures at p. 1-2,
para. l. Scroller provided this same information when it responded to discovery requests on
September 4, 2007. _S_e_e Ex. B, Def. Scroller’s Disc. Resp. at pp. 5, 7, 8, 12-15. Similar
identifications of corporate representatives were made by Defendants The Wooden Teddy Bear,
Inc. (“WTB”) and All Arnerican Crafts, lnc. (“AAC”) in their discovery responses §_e§ generally
Ex. C, Def. WTB Disc. Resp.; Ex. D, Def. AAC Disc. yResp. Despite the timing of the
identifications of these corporate representatives, Plaintiff did not move to join these parties
under a theory of j oint and several liability to comply with the October l, 2007, joinder deadline
under the Court’s Scheduling Order entered September 14, 2007. §_€_:§ Ex. E, Scheduling Order
(Document 50), at p. 9, Section 8.a.

More than five months after Defendant Scroller identified its corporate representatives,

and one day before Plaintiff’s expert disclosures were due, Hillberry moved the Court to extend

 

all Scheduling Order deadlines Hillberiy argued good cause existed to abandon the Scheduling
Order deadlines based on Defendants’ global failure to respond to discovery and the appearance
of new counselfor WTB. Scroller opposed this relief in part because Plaintiff’s pretext of
discovery disputes did not justify extension of all Scheduling Order deadlines Scroller denied,
and Plaintiff conceded, that Scroller was not subject to any ongoing discovery dispute upon
which it relied to demonstrate good cause. _S__e§ Ex. F, Plf’s Reply at p.Z, para. 6. Scroller argued
Plaintiff failed to explain how these discovery disputes justified extension of all Scheduling
Order deadlines Joinder of parties and amendment of pleadings was among the deadlines
specifically contested by Scroller. ln its opposition brief and in correspondence to Plaintiff’s
attorney dated Decernber 12, 2007, preceding the filing of Plaintiff’s Motion to Amend
Scheduling Order, Scroller offered flexibility as to discovery and expert disclosure deadlines but
not as to joinder deadlines _S__e_e Ex. G, Corresp. of 12/12/07; Ex. H, Scroller Resp. The only
justification Hillberry offered in his reply for extension of non-discovery deadlines and joinder of
parties was the ongoing discovery disputes S_ee_ Ex. F, Plf’s Reply at p.Z, para. 6.

Three weeks after Scroller raised the issue of the absence of any explanation justifying
extension of the joinder deadline, Plaintiff moved the Court on January 4, 2008, to join
Defendants’ corporate representatives under a theory of joint and several liability. As with his
motion for extension of all Scheduling Order deadlines, Hillberry avoided the issue of his burden
in showing good cause pursuant to Fed.R.Civ.P.lG(b) to justify the joinder despite knowing the
specific identities of the Scroller representatives since July 2007. Before Defendants’ response

deadline, the Court granted Hillberry’s Motion to Join Additional Parties absent findings and

 

 

conclusions as to how Plaintiff satisfied the burden to show good cause in accord with
Fed.R.Civ.P. 16(b).

Scroller moves pursuant to Fed.R.Civ.P. 60(b) for the Court to consider or reconsider the
facts and law surrounding Plaintiff’s failure to show good cause required by Fed.R.Civ.P. l6(b).
Hillberry cannot meet this burden because such untimely joinder could have been avoided with a
bare minimum of diligent effort. Scroller respectfully requests this Court vacate its Order
granting Plaintiff’ s Motion to Join Additional Parties, receive oral argument at the motions
hearing currently scheduled for February l, 2008, and enter an Order finding that Plaintiff’s
l\/lotion to Join Additional Parties fails to state good cause pursuant to Fed.R.Civ.P. l6(b) based
upon Defendants’ timely disclosure of the identity of its corporate representatives sought to be
joined.

II. MOTION FOR RECONSIDERATICN
A. STANDARDS GOVERNlNG A MOTION FOR RECC)NS]DERATION.

A motion to reconsider is appropriate under Fed.R.Civ.P. 60(b), which states in pertinent
part:

On motion and upon such terms as are just, the court may relieve a party or a

party's legal representative nom a final judgment, order, or proceeding for the

following reasons: (l) mistake, inadvertence, surprise, or excusable neglect; (2)

newly discovered evidence which by due diligence could not have been

discovered in time to move for a new trial ...; (3) fraud ..., misrepresentation, or

other misconduct of an adverse party; (4) the judgment is void; (5) the judgment

has been satisfied, released, or discharged ...; (6) any other reason justifying relief

nom the operation of the judgment

“Grounds warranting a motion to reconsider include (1) an intervening change in the controlling

law, (2) new evidence previously unavailable, and (3) the need to correct clear error or prevent

 

manifest injustice.” Servants of the Paraclete v. Does, 204 F.3d 1005, 1012 (lOth

Cir.2000)(citing Brurnark Com. v. Samson Res. Corp., 57 F.3d 941, 948 (lOth Cir.l995) ).

“Thus, a motion for reconsideration is appropriate where the court has misapprehended the facts,

a party's position, or the controlling law.” l_d. Scroller contends the newly assigned Magistrate to

this case may have misapprehended the facts and law pertinent to Plaintiff’s Motion to Join

Additional Parties as required by Fed.R.Civ.P. 16(b). Scroller provides the following recitation

in support of its Motion for Reconsideration.

B. PLAlNTlFF CANNOT DEMONSTRATE GO()D CAUSE BECAUSE DILIGENT
EFFGRTS COULD HAVE. SHOULD HAVE AND WOULD HAVE ALLOWED FOR
PLA]NTIFF’S TlMELY JO]NDER.

The scheduling order deadline for amendment of pleadings and joinder of parties was
October l, 2007. As indicated above, Scroller disclosed the identity of its corporate
representatives who had potential supervisory duties in the course of selecting and publishing
Zaffino scroll saw patterns for sale in its catalogues in July 2007 .

Under Fed.R.Civ.P. 16(b), the deadlines under a scheduling order “shall not be modified
except upon a showing of good cause and by leave of the district court or, when authorized by
local rule, by a magistrate judge.” This rule makes clear that, in the first instance, the moving
party bears the burden in demonstrating good cause when requesting modification of the
provisions of a scheduling order. Good cause is predicated upon instrumentality beyond the
control of an otherwise diligent attorney. ln the case of Hannah v. Roadway Express, 200 F.R.D.

651, 653-54 (D.Colo.2001), the court stated in pertinent part as follows:

 

Rule 16(b) does not focus on the bad faith of the movant, or the prejudice to the
opposing party. Rather, it focuses on the diligence of the party seeking leave to
modify the scheduling order to permit the proposed amendment Properly
construed, “good cause” means that scheduling deadlines cannot be met despite a
party's diligent efforts.... Carelessness is not compatible with a finding of
diligence and offers no reason for a grant of relief.

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It is well known that we litigate these days under the burden of heavy case loads
and clogged court calendars It is unquestioned that often unjustified and
inordinate periods of delay occur in bringing a case to trial after it is filed in the
court. lt is the purpose of the scheduling conference provisions of Rule 16(b) to
provide the Court with an effective pretrial device for early Court intervention
into the management and progress of a case once issues are joined on the Court‘s
docket

The Scheduling Order is not a frivolous piece of paper, idly entered, which can
be cavalierly disregarded by counsel without peril.

Given this rule of law, Plaintiff clearly has the prefatory burden of showing that the joinder of
parties he now seeks could not have been made under the deadlines of the existing Scheduling
Order despite his diligence

Despite Scroller’s reference to this burden in its Response to Plaintiff’s Motion to Amend
the Scheduling Order, Hillberry avoids this issue. Hillberry fails to provide the Court any
explanation as to: (l) why diligent efforts would not have allowed him to comply with the
Scheduling Order deadline given the identities of parties subject to the joinder were disclosed as
early as July 2007; (2) why, despite diligent efforts, Plaintiff was precluded from moving for the
joinder until more than five months after the identities of these individuals were disclosed and
more than three months after the October l, 2007, scheduling order deadline; and (3) why the
request for joinder was not referenced in his motion for extension to justify extension of this

disputed deadline

 

The policy underlying Fed.R.Civ.P. 16(b) is intended to maintain effective and timely
case management Beyond discovery issues raised in Plaintiff’s Motions to
Compel against Defendants <_)t_l_i_e__r tlri__i__an Scroller, Plaintiff fails to undertake any effort to justify to
the Court why Plaintiff should be excepted from meeting his burden of proof in showing good
cause for extension of the deadline for joinder of parties and amendment of pleadings Given the
conspicuous absence of such a justification, and the facts contravening such proof, the Court
should find that Plaintiff has failed to meet the burden to show good cause required by the
Fed.R.Civ.P. 16(b) and deny Plaintiff’s Motion to Join Additional Parties

III. CONCLUSION

For the reasons stated above, Plaintiff has failed to show good cause pursuant to
Fed.R.Civ.P. l6(b) by not explaining how the requested joinder could not have been made in
compliance with the Scheduling Order deadline with a minimum of due diligence. Scroller
respectfully requests this Court vacate its Order granting Plaintiff’ s Motion to Join Additional
Parties, receive oral argument at the motions hearing currently scheduled for February l, 2008,
and enter an Order finding that Plaintiff’s Motion to Join Additional Parties fails to state good
cause pursuant to Fed.R.Civ.P. l6(b) because of Defendants’ timely disclosure of the identity of
corporate representatives sought to be joined.

Dated this 23'd day of January, 2008.

 

Respectfully submitted,

s/ J ames B. Powers. Esci.

J ames B. Powers, Esq.

Mark A. Neider, Esq.

Harris, Karstaedt, Jamison & Powers, P.C.
188 lnverness Drive West, Suite 300
Englewood, Colorado 80112

Office: (720) 875-9140

Fax: (720) 875-9141

AT'I`ORNEYS FOR DEFENDANT THE
WINFIELD COLLECTION, LTD. d/b/a
SCROLLER, LTD.

 

 

CER'I`IFICATE OF SERWCE tCM/ECE)

l hereby certify that on this 23rd day of January, 2008, l electronically filed the foregoing
with the Clerk of the Court using the Cl\/I/ECF system which will send notification of such filings
to the following e-mail addresses:

Attorney for Plaintiffs
thoward@gdhlaw.com

Attorneys for Wooden Teddy Bear, Inc.
All American Crafts, Inc. and J eff Zaffino

bndorny_@dornylaw.com

Attomeys for Wooden Teddy Bear, Inc.,
d/b/a Wooden Teddy Bear Collection
downin hallevans.com

kidde@lbbslaw.com

s/ J ames B. Powers

 

